Case 3:18-cv-01496-SCC Document 1-1 Filed 07/19/18 Page 1 of 10
                                                              Exhibit A
                Case 3:18-cv-01496-SCC Document 1-1 Filed 07/19/18 Page 2 of 10
    [CERTIFIED TRANSLATION]
                                               Commonwealth of Puerto Rico
                 [round seal]
                                                GENERAL COURT OF JUSTICE
                                                   Court of First Instance
                                          San Juan [X]Superior, [ ]Municipal Court

      BELLA INTERNATIONAL LLC                       CASE NO.        [hw: SJ2018CV03465]
      Name of Plaintiff(s)
                                                    Court Room No.         [hw: 504]
                           v.
                                                    Civil Action for: COLLECTION OF
      HARTFORD LIFE AND ACCIDENT                                      WHAT IS NOT DUE
      INSURANCE COMPANY (THE                                 Subject or Matter
      HARTFORD)
      Name of Defendant(s)

                                                     SUMMONS

        THE UNITED STATES OF AMERICA
        THE PRESIDENT OF THE UNITED STATES
        THE COMMONWEALTH OF PUERTO RICO                          SS

        TO: Hartford Life and Accident Insurance Company
            One Hartford Plaza, Hartford, Connecticut USA 06155

             YOU ARE HEREBY summoned to file with the court your answer to the complaint within the
    thirty (30) days following service of this summons, excluding the day of service. You must file your
    answer to the complaint through the Unified Case Management System (SUMAC Spanish acronym),
    which you may access at the following electronic address: http://unired.ramajudicial.pr, unless you are
    appearing pro se, in which case you must file your answer with the office of the clerk of the court. If you
    do not file your answer to the complaint within the referenced term period, the court may enter default
    judgment against you and grant the relief requested in the complaint, or any other, if the court, in its
    sound discretion, deems it warranted.

                                               Atty. Héctor F. Oliveras
                                             Attorney Registry No.: 7586
[round stamped seal on text below:                 P.O. Box 9024098
COMMONWEALTH OF PUERTO RICO               San Juan, Puerto Rico 00902-4098
     GENERAL COURT OF JUSTICE                    Tel.: (787) 724-8103
      COURT OF FIRST INSTANCE
                                                 Fax: (787) 724-8152
 SUPERIOR COURT, SAN JUAN PART
(illegible signature or initials) K027]    E-mail: h.oliveras@ploolaw.com
                                                                                     [stamped: 25 MAY 2018]
        Issued under my signature and the seal of the Court, today,                                           .

                                                                                     [stamped: 25 MAY 2018]
                                                      Dimarie Alicea Lozada
                      Name of Clerk                   Acting Regional Clerk                Date (d/m/y)

                                                           [signed]                  [stamped: 25 MAY 2018]
                 Name of Deputy Clerk              Signature of Deputy Clerk              Date (d/m/y)
                                                    Maria Ocasio Rodriguez
                                                      Assistant Clerk
         Case 3:18-cv-01496-SCC Document 1-1 Filed 07/19/18 Page 3 of 10
[CERTIFIED TRANSLATION]
                                                                                    Case No.

                                         SERVICE OF PROCESS

I, [hw: (illegible) Delgado]    , declare that I am legally able, pursuant to Rule 4.3 of the Puerto Rico
Rules of Civil Procedure, and I certify that the service of the summons and the complaint in the
referenced case was carried out by me on [hw: June 19, 2018] as follows:

        Personal delivery to the defendant at the following street address:



        Accessible in the immediate presence of the defendant at the following street address:



     Leaving a copy of the documents with a representative authorized by the defendant or
designated by law to receive summons at the following street address:
[hw: B5 Tabonuco Street, 5th Floor, Guaynabo [illegible] authorized person - Ms. Carmela Franco office
systems Tech.]

        The summons could not be served in person because:



                                               COST OF SERVICE
                                                 $

                                      STATEMENT OF PROCESS SERVER
I swear under penalty of perjury, in accordance with the laws of the Commonwealth of Puerto Rico, that
the information provided in the service of process is true and correct.

AND IN WITNESS WHEREOF, I sign this document in                   [hw: San Juan]                   , Puerto Rico,
on this ____ day of [hw: June 2018]      .

                                                                                   [signed]
                                                                         Signature of process server

[hw: I paid $3.00 with CK #14974
to the order of the clerk]
                                                                  [hw: #243 Paris Street Suite 1523]
                                                                           Address of process server
                                                                      [hw: San Juan 00917-3634]
AFFIDAVIT NO.

        Sworn to and signed before me by                                                      , whose personal
circumstances are those stated before, who I attest to knowing

                                 .
(personal acquaintance or, in the alternative, certification of other means provided by the Notary Act)

In                               , Puerto Rico, on this day of                                 .


                                                                                    NOTARY PUBLIC
          Case 3:18-cv-01496-SCC Document 1-1 Filed 07/19/18 Page 4 of 10
[CERTIFIED TRANSLATION]
                             COMMONWEALTH OF PUERTO RICO
                               GENERAL COURT OF JUSTICE
                                COURT OF FIRST INSTANCE
                             SUPERIOR COURT, SAN JUAN PART

 BELLA INTERNATIONAL LLC
                                           CIVIL NO. SJ2018CV03465
 Plaintiff,

 v.                                        SUBJECT:

 HARTFORD LIFE AND ACCIDENT
 INSURANCE COMPANY (THE                    COLLECTION OF WHAT IS NOT DUE
 HARTFORD)

 Defendants

                                          COMPLAINT

TO THE HONORABLE COURT:

        COMES NOW the plaintiff, through the undersigned legal counsel, and very respectfully

before this Honorable Court states, alleges, and prays:

        1.      Bella International LLC is a corporation duly registered and authorized to do

business in Puerto Rico, with headquarters located at Kennedy Avenue, Bechara Sector,

Building 101, Street 1, San Juan, Puerto Rico; telephone number (787) 620-7010 (hereinafter

referred to as “Bella”).

        2.      The defendant, Hartford Life and Accident Insurance Company (hereinafter

referred to as “The Hartford”) is an insurance company with headquarters located at 200

Hopmeadow Street, Simsbury, Connecticut USA 06089, and which issues life, disability,

dismemberment, and other types of insurance policies.

        3.      On April 1, 2003, Bella and The Hartford entered into a contractual relationship

by means of a life insurance policy covering accidental death, dismemberment, loss of vision,

and disability under policy number GLT-GL-691561.

        4.      Under said policy, which is a group policy, Bella insured the lives of its

employees and against disability, dismemberment, and loss of vision risks, as well as against

other risks established in the policy.
            Case 3:18-cv-01496-SCC Document 1-1 Filed 07/19/18 Page 5 of 10
[CERTIFIED TRANSLATION]

PAGE 2

         5.      With this group insurance policy, Bella covered and included over five hundred

(500) employees with different classifications and positions within the different divisions and

companies of Bella.

         6.      The form and manner in which policy GLT-GL-691561 was built established the

payment of premiums on the basis of certain formulas and calculation charts prepared and

provided by The Hartford, which were adapted to the number of employees and their positions

at Bella.

         7.      At all times Bella supplied, provided, and offered all of the information and data

required by The Hartford in order for The Hartford to calculate and issue the invoices for the

premiums to be paid under the referenced group policy.

         8.      During a recent examination and evaluation of the policy issued by The Hartford,

it was found that for many years The Hartford had employed, used, and demanded that Bella

use a premium calculation chart that was wrong and inappropriate, which entailed that for a

period of fourteen years The Hartford was overpaid for a premium which was inappropriate and

incorrect and undue.

         9.      The overpayment of premiums by Bella to The Hartford, as a consequence of the

charts that were created and the premium formulas that were demanded by The Hartford,

represented an overpayment of an amount of no less than $800,000.00 for the three basic

insurance concepts: life insurance; disability insurance; and dismemberment and accidental

death insurance.

         10.     That once the overpayment made by Bella to The Hartford was detected, The

Hartford was asked to immediately conduct the corresponding audit and reimburse the amount

collected in excess and contrary to the premium agreed to under the policy that was issued.

         11.     The Hartford performed the audit and confirmed that, indeed, according to the

charts and formulas provided, Bella had been overbilled under the benefits provided and it

offered to partially reimburse the amount that had been overpaid.
         Case 3:18-cv-01496-SCC Document 1-1 Filed 07/19/18 Page 6 of 10
[CERTIFIED TRANSLATION]

PAGE 3

         12.   The amount offered by The Hartford as reimbursement is unacceptable to Bella,

since it is a fraction of the total amount owed, for which reason The Hartford was asked to

reconsider its position, which it refused to do, thus forcing us to file this cause of action.

         13.   That in accordance with Article 1795 of our Civil Code, 31 L.P.R.A. Sec. 5121, “if

a thing is received when there was no right to claim it and which, through an error, has been

unduly delivered, there arises an obligation to restore the same”.

         14.   In this case, Bella paid more than was owed in premiums to The Hartford and

The Hartford is bound to restore said amount.

         15.   Our Supreme Court, in cases such as ELA v. Crespo Torres, 180 D.P.R. 776

(2011); Sepúlveda v. Departamento de Salud, 145 D.P.R. 560 (1998) has held that, in order

for The Hartford’s obligation to restore the amounts collected in excess to arise, three

requirements must be met, to wit: 1) for a payment to be made with the intention to extinguish

an obligation, which in this case did happen because the intention was to pay the policy

premiums; 2) for the payment that was made to not be justified, that is, for there to be no legal

obligation between the party making the payment and the party collecting it; in this case, the

second requirement is met because there was an agreed premium and what was wrong were

the charts and formulas that were created and used by The Hartford, charging in excess of what

was agreed; and 3) for the payment to have been made by mistake and not merely as a gift or

for other reasons, for which the third requirement is also met since the payment made by Bella

was made by mistake and induced by The Hartford, which submitted and demanded the use of

charts and formulas that were inapplicable, inappropriate, and undue.

         16.   That pursuant to the terms and conditions of the contract between Bella and The

Hartford, the applicable law in the controversy at hand are the laws of the Commonwealth of

Puerto Rico and, therefore, the provisions of our Civil Code cited above.
         Case 3:18-cv-01496-SCC Document 1-1 Filed 07/19/18 Page 7 of 10
[CERTIFIED TRANSLATION]

PAGE 4

         17.    That we request that the Honorable Court order The Hartford to pay and return

the entire amount collected in excess and the interest on said principal to be counted from the

moment when said amounts were paid and until they are returned and paid in full.

         WHEREFORE, we very respectfully request that this cause of action be granted and that

the defendant be ordered to pay the amount of $800,000.00 plus the legal interest accrued on

said amount from the year 2003 and until paid in full; late payment interest from the time that it

was asked for reimbursement, as well as costs, expenses, and attorney’s fees.

         RESPECTFULLY SUBMITTED.

         In San Juan, Puerto Rico, on this day of May 23, 2018.


                                             s/HÉCTOR F. OLIVERAS DELGADO
                                             HÉCTOR F. OLIVERAS DELGADO
                                             ATTY. REGISTRY NO.: 7586 / BAR ASSN 8776
                                             OLIVERAS & ORTIZ LAW OFFICES, PSC
                                             171 CHARDÓN AVE., SUITE 406
                                             HATO REY, PR 00918-1722
                                             TEL.: (787) 724-8103
                                             FAX: (787) 724-8152
                                             E-MAIL: h.oliveras@ploolaw.com
                     Case 3:18-cv-01496-SCC Document 1-1 Filed 07/19/18 Page 8 of 10
[CERTIFIED TRANSLATION]




     ACKNOWLEDMENT OF RECEIPT
        CERTIFIED MAIL WITH
           Case 3:18-cv-01496-SCC Document 1-1 Filed 07/19/18 Page 9 of 10


CERTIFICATE OF TRANSLATION
SPANISH TO ENGLISH

DOCUMENT: Bella International v HLAIC Complaint (service copy)

The undersigned, Margot A. Acevedo Chabert, USCCI, hereby certifies that she has been actively engaged as a
professional translator and interpreter (English <> Spanish) certified by the Administrative Office of the United States
Courts since 2006 (Certificate No. 06-001), that she has an MA in Translation from the University of Puerto Rico, and
that to the best of her knowledge and understanding, the attached document is a true and correct translation of the
original text provided for translation.

In Milwaukee, WI, on July 17, 2018


Margot A. Acevedo Chabert, USCCI
            Case 3:18-cv-01496-SCC Document 1-1 Filed 07/19/18 Page 10 of 10



                                                 COMMONWEALTH OF PUERTO RICO
                                                   GENERAL COURT OF JUSTICE
                                                    COURT OF FIRST INSTANCE
                                                    San Juan JUDICIAL CENTER
                                                    San Juan SUPERIOR COURT

            BELLA INTERNATIONAL LLC                                          CASE NO.      SJ2018CV03465               .
                       VS
      HARTFORD LIFE AND ACCIDENT INSURANCE
                    COMPANY                                                   SUBJECT: COLLECTION OF WHAT IS NOT DUE




                                                  NOTICE FROM THE CLERK’S OFFICE

           TO:         HÉCTOR F OLIVERAS DELGADO
                       H.OLIVERAS@PLOOLAW.COM


In relation to the captioned case, the undersigned Clerk hereby notifies you of the following:


THE DOCUMENT FILED DOES NOT COMPLY WITH THE ADMINISTRATIVE GUIDELINES AND ORDERS
RELATED TO THE ELECTRONIC FILING OF DOCUMENTS THROUGH THE SUMAC1. THE COURT MAY
REQUIRE YOU TO FILE THE DOCUMENT AGAIN. HOWEVER, NEXT TIME YOU MUST MAKE SURE THAT:

THE PLEADINGS AND MOTIONS ARE SIGNED ELECTRONICALLY IN THE FORMAT “F/(FULL NAME OF THE
ATTORNEY)”. SUMAC ADMINISTRATIVE GUIDELINES, SECTION X.


In San Juan, Puerto Rico, on May 25, 2018.


           DIMARIE ALICEA LOZADA                                            By:     s/MARIA OCASIO RODRIGUEZ
                    Name of the                                                         Name and signature of the
                    Regional Clerk                                                      Assistant Clerk of the Court




Clerk’s Office Notification Form
SUMAC


1
    SUMAC is the Spanish acronym for the Unified Case Management System.

[I hereby certify that I am fluent in both Spanish and English and
that this is a true and accurate translation to the best of my abilities.


Margot A. Acevedo Chabert
FCICE Certificate No. 06-001]
